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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Brian Swontek,                                     No. CV-16-03602-PHX-DJH
10                  Plaintiff,                          ORDER
11   v.
12   Experian Information Solutions
     Incorporated, et al.,
13
                    Defendants.
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15          This matter is before the Court on the Notice of Settlement (Doc. 141), filed on
16   January 4, 2019. Accordingly,
17          IT IS ORDERED that a Stipulation to Dismiss shall be filed on or before March 5,
18   2019. If a Stipulation to Dismiss has not been filed by this deadline the parties shall file a
19   Status Report to the Court on that date.
20          IT IS FURTHER ORDERED that the Final Pretrial Conference set for January
21   22, 2019 is VACATED.
22          Dated this 7th day of January, 2019.
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25                                                 Honorable Diane J. Humetewa
                                                   United States District Judge
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